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DFL MAF{CO A. B|TE'l-|'O,

P|sirititf, Defehdeht. Cii.rii Aotiorl No.
vs. G|NNI ROM|'|'['Y, t:1?-ev-U[}653-LEK-DJS
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MOT|ON TO E}(PED|TE THE CASE 1'ii"¢\'lTH ME PRESENT EEFCJF{E THE
COUF`{T.

| em putting forward this motion to expedite this esse with me before the
jury With my guide dog end Wite. | Wiil be expecting s reply shortly on this
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Dr. Nieroo A."ii". Bitetto

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UN|TED STATES DlSTRlCT COUFIT
NOHTHERN DlSTRlCT OF NEW YOF|K

 

DF{. MAFiCO A. B|TET|'O,

 

F'|aintiff, Defendant. Civi| Action No.
vs. G|NN| FiOlv'll'|'|'Y, 1:1?-cv~00658-LEK-DJS
Defendant

FACTS OF THE CASE

The copyrighted patent of the NEHVOTHON is the fact in dispute and
dates back to 1995.

As vvas already set as presidents, copyrighted patents have the same and
even more protection under the |avv as patents do themselves.
Copyrighted patents are protected by the law for the live of the inventor
plus ninety nine years.

You shall also find two copies of the e-zine articles from the vveb dealing
With lBlvl's getting of project Synapse defense funding to invent the
Tru|\iorth chipset and also |Blv|'s selling of the rights to Samsung for the
development of neurornorphic chips for their entire line of consumer
products.

Enc|osed you shall also find three cases of copyrights that deal vvith
patentable items.

Elder vs Ashcroft

The nature of this case is one challenging congresses ability to change the
extension of time for copyrightsl The ruling in this case vvas that Elder v.ias
vvrong and congress does indeed have the right to change extensions of
time for copyrighted patentable items registration

 

 

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l_ueddecke vs Chevro|et lvlotors Co.

in this case, Lueddecl<e contents that his protected redesign of the tilting
Chevro|et cars vvas protected as a copyright. Lueddeci<e sent several
unsolicited letters dealing vvith this matter. The court decided that since
the ideas to fix the problem vvere unsolicited and vvere also common sense
that i_ueddeci<e vvas not entitled to any for of monetary compensation.

Nadel vs Play By P|ay Toys & Novelties, lnc.

|n this case, the developer of the toy Nade| vvent to Play By Play Toys to
sell the idea to them. Subsequently, Play By P|ay Tcys declined and vvent
ahead vvith producing a toy that vvas exactly vvhat Nadel developed The
court ruled in Nade|’s favor and gave judgement against P|ay Ey P|ay Toys.

 

 

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_The Washlngten Po£§ase 1:17-cv-O 658-LEK-D.]S Document 41 Filed 03/0 /1 Page 4 of 11

f]n l.T.

DARPA-funded
IBl\/[ chip inspired
by Synapses in the
human brain

By Mohane Flavinclranath August l'. 2014

ll'il'vl on Thursday unveiled a nevil computer chip designed to emula|e the computing process and energy efficiency of the lnlman

hrain.

The size ot` a postage stamp, the chip uses the energy equivalent of a hearing-aid t:»attery:l according lo tBM. lest says its

l‘r.tourosj,n'laptic chips" can he tiied together to make a larger computing systetn_

the project _ called Systems of Neuromorphic Adaptive Plastic Scalahle Electronics [SyNAPSE} _ is fueled hy about $53
million from the l')et`ense Advanced `Research Pro_iect Agency_ [DARP.-*t works closely with lli?vi on other projects; itt Fehruary, i'ol'
instancel the agency selected ]Bt'vl for a $3-4 million contract to design chips for electronics that can self-destruct 1tvhen

triggered]

Eventually, the chips could he used in rohots that ream around disaster regions and communicate Tvrith people, or in eyeglasses

that process video and auditory input to help the wearer navigate a busy road, among other conceptual ideas_. according to ltl~l‘vl.

`l`he computing system could he used for unmanned aerial yehicles, or druncs, said Gill }’ratt:l a program manager in tlv*i.ltl’.»'-'t's

defense sciences ofl"lce.

ltohot systems that analyze input in real-time _ comparing images from a camera to images stored in a databasc, for instance -
typically use large amounts el pot-recl Pratt said in an intervieiv, noting that "‘warllghters and Ua.i’s all have very limited amounts

of power they can use _ . . we are trying to improve the power efficiency of the computation as much as possihlc”.

The neurosynaptic chips are mean to complement lE-?'d`s other so-called cognitive computing technologies such as Watsen, the
system that 1iven “‘Jeopardyl" in acli. 1».i'lh=i.tson uses natural language processing skills to interpret human speech queries_., and
mines large volumes of data to lind die answer. Where as 1li‘l"atson represents humans' “let`t»hrain” - associated with analytical

thinking _ the neurosynaptic chips are meant to simulate pattern recognition and process sensory input, according to IHM.
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lhl‘i-i is still working out how to comnterciali:se the chips, lead research scientist Dharmendra l"v[or a said in an intervienf. .

“This is really a research project Myjol:i was to make impossible possible . .now the possible has to become res|,“ he said_

I.c 0 Comments |

 

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epps for design ~.--ii:lccl and vvcb.
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circuit 659 passes
Samsung uses |B|V|'s brain-
inspired chip to recognize

gestures

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Samsung uses IBM*s bg§§@s§lrldchlp'@@§§§ule§l,&smd§>- '|D.OCUm€m ddps:£hll@d#_@t§i@t§é]c%nua@$i%dlll:r]$hln-"Ei’l?.f|?.¢‘i_§l'lfl}tllsa...

l-luman brains and machine brains are different l-lurnan brains are really good at
critical analysis lvlachine brains are really good at working with lots ot data.
l-luman brains are power etlicient. lylechine brains need 100 million times more
power than human brains to perlorm similar cognitive tasks

That's why researchers and companies have been interested in chips with
structures that mimie the human brain, also known as "neuromorphic computing."
|Blvl's TroeNcrth is one cl those chips, lt has 4,096 computer cores that support
about a million digital brain cells and 256 million connections information travels
over those connections like it does across human synapses.

On Thursdayl Erie Flyu, a vice president cl research at the Samsung Advanced
institute ct `l'echno|ogyl showed ctf how TrueNorth could help a computer be
better at recognizing hand gestures while using one-tenth of the power used by
typical phones. Samsung isn`t the first to use the chipl although the company
does manufacture it. The Lawerenee Livermere Nationa| Lab has been using it
tor cyber security research. The US Air Force has been using it to detect unusual

 

events in videos and to build smarter autonomous drcnes_

 

Samsung has built TrueNcrth into its Dynamic ‘v'ision Sensor. which uses the chip
to recognize images at E.uou frames per second. That kind cf speed is really
good for generating 30 maps driving autonomous|y, and controlling computers
with gestures

`v’enture Eleat shot_g_guicit video ci Flyu on stage at |Bi`v'l's research laboratory in

 

almaden, Calitcrnia, demonstrating how these hand gestures could be used to
control a TV.

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Samsung demos lBM`s brain chip in a gesture recognition app

 

 

 

 

"lt recognized hand waves linger waves, closed fists and finger pinches from
about 10 feet away," wrote CNEF.

 

Seems like machine learning-optimized hardware is here to stay. Let's just hope
the tech industry stops thinking we want to use it to make ridiculous hand
gestures

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Samsung uses ll~_ill~'l`s M$Etslai§ledt@iip@gi@&§rli§ l§e.{dde€§ - 'D.OCUm€m 4dtpsl§lll®ng§¢@$!d,§)ml?3@tht9chedlidlnl`S.llIr|Z,-'-i_.'it'lfl}tli'sa.._

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THE LATES`|'

Snapehat now has Giphy integration and will
introduce a Tabs function for Stories
Ety The-y t'}r=-;_: | s comments

Goog|e begins replacing Android Pay and Google
Wa||et with new app

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Spotify’s latest job listings show it’s ramping up
efforts to produce hardware

Ely ll"-uyt`;‘:ig | 13 comments

 

 

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The iPhone, the Pixel, and the tragic anxiety of having
to choose

Ely l 222 cornr*icnts

 

Sony takes on ride-halting in Japan as leer looks for
partners
E':; .Z .

Samsung unvells world’s largest SS|J with whopping
BDTE of storage

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